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AES/DCP:MEB/AS
F. #2019R01465

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - -- - - -X

UNITED STATES OF AMERICA                                   INFORMATION

         - against –                                       Cr. No. 20-376 (ENV)
                                                           (T. 18, U.S.C., §§ 371, 981(a)(1)(C) and
ANTONIO PERE YCAZA,                                         3551 et seq.; T. 21, U.S.C., § 853(p); T. 28,
                                                            U.S.C., § 2461(c))
                                Defendant.

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THE UNITED STATES CHARGES:

                   At all times relevant to this Information, unless otherwise stated:

I.       The Defendant and Relevant Individuals and Entities

                   1.       The defendant ANTONIO PERE YCAZA (“PERE”) was a citizen of

Ecuador, Spain and the United States who resided in Miami, Florida. PERE, along with

Enrique Pere Ycaza, exercised control over companies and bank accounts in the United

States and elsewhere that were used to facilitate the payment of bribes to Ecuadorian

government officials. PERE was a “domestic concern,” as that term is used in the Foreign

Corrupt Practices Act (“FCPA”), Title 15, United States Code, Section 78dd-2(h)(1).

                   2.       Enrique Pere Ycaza (“Enrique Pere”) was a citizen of Ecuador and

Spain and the brother of the defendant ANTONIO PERE YCAZA. PERE provided

consulting services, incorporated consulting businesses and opened bank accounts in the

United States and elsewhere that were used to facilitate the payment of bribes to Ecuadorian
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officials. Enrique Pere was an agent of a “domestic concern,” as that term is used in the

FCPA, Title 15, United States Code, Section 78dd-2(h)(1).

              3.      Empresa Publica de Hidrocarburos del Ecuador (“Petroecuador”) was

the state-owned and state-controlled oil company of the Republic of Ecuador and performed

a function that Ecuador treated as its own. Petroecuador was an “instrumentality” of the

Ecuadorian government, as that term is used in the FCPA, Title 15, United States Code,

Sections 78dd-2(h)(2)(A) and 78dd-3(f)(2)(A).

              4.      Trading Company #1, the identity of which is known to the United

States, was a European energy trading company with subsidiaries around the world,

including in the United States.

              5.      Trading Company #1 Employee, an individual whose identity is known

to the United States, was a citizen of Canada and resided in the Bahamas. At various times

during the relevant time period, Trading Company #1 Employee worked in Houston, Texas

and in the Bahamas for Trading Company #1 as a manager, a crude oil trader, an agent and

an independent contractor.

              6.      Trading Company #2, the identity of which is known to the United

States, was the U.S. subsidiary of a European energy trading company with its principal

place of business in Houston, Texas. Trading Company #2 was a “domestic concern,” as that

term is defined in the FCPA, Title 15, United States Code, Section 78dd-2(h)(1).

              7.      Trading Company #2 Employee, an individual whose identity is known

to the United States, was a citizen of Mexico and lawful permanent resident of the United
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States. At all relevant times, Trading Company #2 Employee worked in Houston, Texas for

Trading Company #2 as a manager and oil trader. Trading Company #2 Employee was a

“domestic concern” and an employee of a “domestic concern,” as those terms are used in the

FCPA, Title 15, United States Code, Section 78dd-2(h)(1).

                8.    Asphalt Company, the identity of which is known to the United States,

was an asphalt company incorporated and based in Florida. Asphalt Company was a

“domestic concern,” as that term is used in the FCPA, Title 15, United States Code, Section

78dd-2(h)(1).

                9.    Asphalt Trading, the identity of which is known to the United States,

was a company incorporated in the Bahamas and based in the United States that was one of a

group of companies related to Asphalt Company. Asphalt Trading’s principal place of

business was in Florida. Asphalt Trading was a “domestic concern,” as that term is used in

the FCPA, Title 15, United States Code, Section 78dd-2(h)(1).

                10.   Asphalt Company Employee, an individual whose identity is known to

the United States, was a citizen of Venezuela and legal permanent resident of the United

States as of at least 2017. Asphalt Company Employee worked at Asphalt Company in or

about and between 2012 and 2018. Asphalt Company Employee was an employee of a

“domestic concern” and an agent of a “domestic concern,” as those terms are used in the

FCPA, Title 15, United States Code, Section 78dd-2(h)(1).

                11.   Asphalt Trading Employee, an individual whose identity is known to

the United States, was a citizen of the United States who worked for Asphalt Trading and
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other companies affiliated with Asphalt Company from approximately 2006 through 2018.

Asphalt Trading Employee was a “domestic concern,” an employee of a “domestic concern”

and an agent of a “domestic concern,” as those terms are used in the FCPA, Title 15, United

States Code, Section 78dd-2(h)(1).

              12.    Consulting Company #1 and Consulting Company #2, the identities of

which are known to the United States, were companies formed by the defendant ANTONIO

PERE YCAZA and Enrique Pere in Panama and the British Virgin Islands, respectively.

PERE, together with Enrique Pere and others, used Consulting Company #1 and Consulting

Company #2 to pay and conceal bribe payments to Ecuadorian officials in order to obtain

and retain business for Trading Company #1 and Asphalt Company.

              13.    Consulting Company #3, the identity of which is known to the United

States, was a company formed by the defendant ANTONIO PERE YCAZA and Enrique Pere

in the British Virgin Islands. PERE, together with Enrique Pere and others, used Consulting

Company #3 to pay and conceal bribe payments to Ecuadorian officials in order to obtain

and retain business for Trading Company #2.

              14.    Ecuadorian Official #1, an individual whose identity is known to the

United States, was a citizen of Ecuador and served as a senior manager at Petroecuador from

approximately 2010 to May 2017. Ecuadorian Official #1 was a “foreign official,” as that

term is used in the FCPA, Title 15, United States Code, Sections 78dd-2(h)(2) and 78dd-

3(f)(2)(A).
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              15.     Ecuadorian Official #2, an individual whose identity is known to the

United States, was a citizen of Ecuador and served as an Ecuadorian official from

approximately 2018 to March 2020. Ecuadorian Official #2 was a “foreign official,” as that

term is used in the FCPA, Title 15, United States Code, Sections 78dd-2(h)(2) and 78dd-

3(f)(2)(A).

              16.     Ecuadorian Official #3, an individual whose identity is known to the

United States, was a citizen of Ecuador and served as a senior manager at Petroecuador since

approximately 2017. Ecuadorian Official #3 was a “foreign official,” as that term is used in

the FCPA, Title 15, United States Code, Sections 78dd-2(h)(2) and 78dd-3(f)(2)(A).

II.    The Foreign Corrupt Practices Act

              17.     The FCPA was enacted by Congress for the purpose of, among other

things, making it unlawful for certain classes of persons and entities to corruptly offer,

promise, authorize or pay money or anything of value, directly or indirectly, to a foreign

government official for the purpose of obtaining or retaining business for, or directing

business to, any person.

III.   The Bribery and Money Laundering Schemes

              18.     From in or about and between June 2011 and July 2019, the defendant

ANTONIO PERE YCAZA, together with others, engaged in international bribery and money

laundering schemes, in which he knowingly, willfully and corruptly offered and agreed to

pay bribes to and for the benefit of Ecuadorian officials, in order to obtain and retain

business for companies, including Trading Company #1, Trading Company #2 and Asphalt
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Company. During the same time period, PERE, together with others, also agreed to

knowingly conduct financial transactions designed to conceal and disguise proceeds of the

illegal bribery schemes and with the intent to promote the illegal bribery schemes.

              19.    In furtherance of the bribery schemes, in or about and between June

2011 and July 2019, the defendant ANTONIO PERE YCAZA and his co-conspirators agreed

to make and did make bribe payments to Ecuadorian officials, including Ecuadorian Official

#1, Ecuadorian Official #2 and Ecuadorian Official #3, for the purpose of corruptly obtaining

and retaining contracts, by, among other things, securing an improper business advantage in

connection with oil products and asphalt contracts awarded by Petroecuador, for Trading

Company #1, Trading Company #2, Asphalt Company and others.

              20.    To promote the bribery schemes and conceal the proceeds derived from

them, the defendant ANTONIO PERE YCAZA and his co-conspirators established and used

bank accounts located in numerous jurisdictions, including Panama, the Cayman Islands and

the United States. Trading Company #1, Trading Company #2 and Asphalt Company caused

payments to be made into those bank accounts, which were used, at least in part, to pay

bribes into shell company bank accounts for the benefit of Ecuadorian Official #1,

Ecuadorian Official #2 and Ecuadorian Official #3. PERE and his co-conspirators also

created and entered into corrupt consulting agreements to conceal and promote the bribery

and money laundering schemes.

              21.    The defendant ANTONIO PERE YCAZA and his co-conspirators took

acts in furtherance of the bribery and money laundering schemes, including by
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communicating by email, telephone and in person while in the territory of the United States,

and by sending wires and causing wires to be sent that passed through the Eastern District of

New York.

              22.    From in or about and between January 2013 and 2019, Trading

Company #1, Trading Company #2 and Asphalt Company made payments totaling more

than $70 million to bank accounts controlled by the defendant ANTONIO PERE YCAZA

and Enrique Pere. PERE and Enrique Pere in turn made and caused to be made bribe

payments totaling approximately $22 million to Ecuadorian officials and others on behalf of

Trading Company #1, Trading Company #2 and Asphalt Company.

       A.     The Trading Company #1 Scheme

              23.    Beginning in or about June 2011, the defendant ANTONIO PERE

YCAZA agreed with Enrique Pere and others, including with Trading Company #1

Employee, to pay bribes to Ecuadorian officials in order to secure an improper advantage for

Trading Company #1 in connection with potential contracts to purchase oil products that

Petroecuador might award to a state-owned entity in Asia (“State-Owned Entity #1”), the

identity of which is known to the United States

              24.    Specifically, in or about June 2011, Trading Company #1 agreed with

State-Owned Entity #1 to perform the work, assume the risk and keep the product purchased
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under any contract State-Owned Entity #1 entered into with Petroecuador to purchase oil

products.

              25.     In or about October 2012, to facilitate the payment of bribes and to

conceal the bribery scheme, Enrique Pere executed a corrupt consulting agreement between

Trading Company #1 and Consulting Company #1. Pursuant to the agreement, Trading

Company #1 agreed to pay Consulting Company #1 a commission per barrel of Ecuadorian

oil products that Trading Company #1 purchased from Petroecuador under the contract

between Petroecuador and State-Owned Entity #1.

              26.     Thereafter, beginning in or about January 2013, pursuant to the corrupt

consulting agreement, Trading Company #1 wired payments to Consulting Company #1 and

later Consulting Company #2, part of which were passed on to Ecuadorian Official #1 by the

defendant ANTONIO PERE YCAZA and Enrique Pere in furtherance of the bribery scheme.

              27.     In or about and between 2013 and July 2019, the defendant ANTONIO

PERE YCAZA and his co-conspirators, including Trading Company #1 Employee,

continued the bribery scheme and made additional payments to Ecuadorian officials in

connection with similar agreements between Petroecuador and two other state-owned entities

in Asia, the identities of which are known to the United States.

              28.     In furtherance of the scheme, Trading Company #1 wired payments,

some of which passed through the Eastern District of New York, to bank accounts in the

Cayman Islands controlled by the defendant ANTONIO PERE YCAZA and Enrique Pere,

knowing that they would be used, at least in part, to pay bribes to Ecuadorian officials.
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PERE and Enrique Pere then caused a portion of the payments to be wired to a bank account

in the United States from a bank account in the Cayman Islands for the benefit of Ecuadorian

Official #1.

               29.   Beginning in or about 2015, the defendant ANTONIO PERE YCAZA

and Enrique Pere agreed to secretly pay Trading Company #1 Employee kickbacks from the

funds paid by Trading Company #1 to Consulting Company #1, in addition to the bribes they

were paying to Ecuadorian officials.

               30.   In addition, beginning in or about 2017, with the knowledge of Trading

Company #1 Employee and others, the defendant ANTONIO PERE YCAZA and Enrique

Pere also wired a portion of the payments they received from Trading Company #1 from a

bank account in the Cayman Islands to bank accounts in Panama for the ultimate benefit of

Ecuadorian Official #2 and Ecuadorian Official #3.

       B.      The Trading Company #2 Scheme

               31.   Beginning in or about 2015, the defendant ANTONIO PERE YCAZA

and Enrique Pere agreed with Trading Company #2 Employee to pay bribes to Ecuadorian

officials, including Ecuadorian Official #1, to secure an improper advantage for Trading

Company #2 in connection with potential contracts related to Petroecuador.

               32.   In or about 2016, Trading Company #2 agreed with a state-owned

entity located in the Middle East (“State-Owned Entity #2”), the identity of which is known

to the United States, to perform the work, assume the risk and keep the product purchased

under a contract for State-Owned Entity #2 to purchase fuel oil from Petroecuador.
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              33.     On or about December 22, 2016, to effectuate and conceal the bribery

scheme, the defendant ANTONIO PERE YCAZA and Enrique Pere, with the knowledge and

involvement of Trading Company #2 Employee, devised a scheme in which payments for the

bribery scheme would be sent to Consulting Company #3 from two shell companies

registered in Curacao. To effectuate the payments, PERE and Enrique Pere executed sham

consulting agreements between Consulting Company #3 and the shell companies in Curacao.

              34.     Trading Company #2 thereafter caused the shell companies in Curacao

to wire payments to a bank account of Consulting Company #3 in the Cayman Islands. After

receiving those payments, with the knowledge of Trading Company #2 Employee, the

defendant ANTONIO PERE YCAZA and Enrique Pere wired a portion of the proceeds from

accounts under their control to bank accounts in Panama for the benefit of Ecuadorian

officials, including Ecuadorian Official #1, in order to obtain and retain business for Trading

Company #2.

       C.     The Asphalt Company Scheme

              35.     In or about June 2014, at a meeting in Miami, Florida, the defendant

ANTONIO PERE YCAZA, Asphalt Company Employee and Asphalt Trading Employee

agreed that PERE would receive a commission if Petroecuador awarded Asphalt Company

an asphalt supply contract in an upcoming tender process. They further agreed that PERE

would seek Ecuadorian Official #1’s assistance in securing the contract for Asphalt

Company. PERE and Enrique Pere intended, and Asphalt Company Employee and Asphalt
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Trading Employee knew that there was a high probability, that PERE would make bribe

payments to Ecuadorian Official #1 out of PERE’s commission.

               36.    After the Petroecuador contract was awarded to Asphalt Company,

Enrique Pere executed a corrupt consulting agreement between Consulting Company #1 and

a Swiss affiliate of Asphalt Company to facilitate the bribery scheme and to conceal the bribe

payments. Pursuant to that corrupt agreement, Asphalt Company paid Consulting Company

#1 approximately $471,881 through its Swiss affiliate, knowing that there was a high

probability that those funds would be used, at least in part, to pay bribes to benefit

Ecuadorian Official #1.

                                        COUNT ONE
                               (Conspiracy to Violate the FCPA)

               37.    The allegations contained in paragraphs one through 36 are realleged

and incorporated as if fully set forth in this paragraph.

               38.    In or about and between June 2011 and July 2019, both dates being

approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendant ANTONIO PERE YCAZA, together with others, did knowingly and willfully

conspire to commit one or more offenses against the United States, to wit:

                      (a)     being a domestic concern, to make use of the mails and means

and instrumentalities of interstate commerce corruptly in furtherance of an offer, payment,

promise to pay, and authorization of the payment of any money, offer, gift, promise to give

and authorization of the giving of anything of value to a foreign official, to a foreign political
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party and official thereof, and to a person while knowing that all or a portion of such money

and thing of value would be offered, given and promised to a foreign official and to a foreign

political party and official thereof, for purposes of: (i) influencing acts and decisions of such

foreign official, foreign political party and official thereof in his, her or its official capacity;

(ii) inducing such foreign official, foreign political party and official thereof to do and omit

to do acts in violation of the lawful duty of such official and party; (iii) securing any

improper advantage; and (iv) inducing such foreign official, foreign political party and

official thereof to use his, her or its influence with a foreign government and agencies and

instrumentalities thereof to affect and influence acts and decisions of such government and

agencies and instrumentalities, in order to assist PERE, Enrique Pere, Trading Company #2,

Asphalt Company and others in obtaining and retaining business for and with, and directing

business to, PERE, Enrique Pere, Trading Company #1, Trading Company #2, Asphalt

Company, Consulting Company #1, Consulting Company #2 and others, contrary to Title 15,

United States Code, Section 78dd-2; and

                       (b)     while in the territory of the United States, corruptly to make use

of the mails and means and instrumentalities of interstate commerce and to do any act in

furtherance of an offer, payment, promise to pay, and authorization of the payment of any

money, offer, gift, promise to give and authorization of the giving of anything of value to a

foreign official, to a foreign political party and official thereof, and to a person while

knowing that all or a portion of such money and thing of value would be offered, given and

promised to a foreign official and to a foreign political party and official thereof, for
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purposes of: (i) influencing acts and decisions of such foreign official, foreign political party

and official thereof in his, her or its official capacity; (ii) inducing such foreign official,

foreign political party and official thereof to do and omit to do acts in violation of the lawful

duty of such official and party; (iii) securing any improper advantage; and (iv) inducing such

foreign official, foreign political party and official thereof to use his, her or its influence with

a foreign government and agencies and instrumentalities thereof to affect and influence acts

and decisions of such government and agencies and instrumentalities, in order to assist

Enrique Pere, Trading Company #1, Consulting Company #1, Consulting Company #2 and

others in obtaining and retaining business for and with, and directing business to, PERE,

Enrique Pere, Trading Company #1, Asphalt Company, Trading Company #2, Consulting

Company #1, Consulting Company #2 and others, contrary to Title 15, United States Code,

Section 78dd-3.

               39.     In furtherance of the conspiracy and to effect its objects, within the

Eastern District of New York and elsewhere, the defendant ANTONIO PERE YCAZA,

together with others, committed and caused the commission of, among others, the following:

                                          OVERT ACTS

                       (a)     On or about November 20, 2014, PERE sent an invoice for

approximately $188,752.85 to the Swiss affiliate of Asphalt Company pursuant to the corrupt

consulting agreement with Consulting Company #1.

                       (b)     On or about November 28, 2014, Trading Company #1 caused a

wire transfer of approximately $1,971,970.39 from a bank account in Singapore, through a
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correspondent account at a bank in New York, New York, into an account in Panama held by

Consulting Company #1.

                      (c)    On or about June 2, 2016, PERE instructed Enrique Pere, while

both were in the United States, to cause a wire transfer of approximately $228,500.00 from a

bank account in the Cayman Islands held by Consulting Company #1, through a

correspondent account at a bank in New York, New York, into an account in Panama held by

a close relative of Ecuadorian Official #1.

                      (d)    In or about February 2018, in order to facilitate and conceal

commission payments from Trading Company #2 to Consulting Company #3, Enrique Pere

signed consulting contracts backdated to December 22, 2016 with two shell companies

registered in Curacao.

                      (e)    On or about November 7, 2018, Trading Company #2 caused a

wire transfer of approximately €63,345.36 from a shell company bank account in Curacao to

a bank account in the Cayman Islands held by Consulting Company #3.

                      (f)    On or about and between February 11, 2019 and April 1, 2019,

Trading Company #1 caused three wire transfers totaling more than $2.8 million from a bank

account in Singapore, through a correspondent account at a bank in New York, New York,

into an account in Panama held by Consulting Company #1.

                      (g)    On or about April 4, 2019, PERE caused Enrique Pere, while

both were in the United States, to cause a wire transfer of approximately $2,200,088.95 from
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a bank account in the Cayman Islands in the name of Consulting Company #1 to a bank

account in Portugal for the ultimate benefit of Ecuadorian Official #1.

                     (h)     On or about June 27, 2019, PERE caused Enrique Pere, while

both were in the United States, to cause a wire transfer of approximately $142,927.00 from a

bank account in the Cayman Islands held by Consulting Company #1, through a

correspondent account at a bank in New York, New York, into a bank account in Panama for

the ultimate benefit of Ecuadorian Official #2 and Ecuadorian Official #3.

                     (i)     On or about July 22, 2019, PERE instructed Enrique Pere, while

both were in the United States, to cause a wire transfer of approximately $175,100 from a

bank account in the Cayman Islands held by Consulting Company #3, through a

correspondent account at a bank in New York, New York, into a bank account in Panama,

approximately $100,000 of which was for the benefit of Ecuadorian Official #2 and

Ecuadorian Official #3.
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                      (j)      On or about July 24, 2019, Trading Company #1 caused a wire

transfer of $1,366,502.87 from a bank account in Singapore, through a correspondent

account at a bank in New York, New York, into a bank account in the Cayman Islands held

by Consulting Company #1.

               (Title 18, United States Code, Sections 371 and 3551 et seq.)

                                          COUNT TWO
                            (Conspiracy to Commit Money Laundering)

               40.    The allegations contained in paragraphs one through 36 are realleged

and incorporated as if fully set forth in this paragraph.

               41.    In or about and between June 2011 and July 2019, both dates being

approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendant ANTONIO PERE YCAZA, together with others, did knowingly and willfully

conspire to commit one or more offenses against the United States, to wit:

                      (a)      to knowingly transport, transmit and transfer, and attempt to

transport, transmit and transfer, monetary instruments and funds from a place in the United

States to and through a place outside the United States and to a place in the United States

from and through a place outside the United States with the intent to promote the carrying on

of one or more specified unlawful activities, to wit: (i) felony violations of the FCPA, Title

15, United States Code, Sections 78dd-2 and 78dd-3; and (ii) offenses against a foreign

nation involving bribery of a public official, in violation of Articles 280 and 285 of the

Ecuadorian Penal Code, contrary to Title 18, United States Code, Section 1956(a)(2)(A); and
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                      (b)     to knowingly transport, transmit and transfer, and attempt to

transport, transmit and transfer, monetary instruments and funds from a place in the United

States to and through a place outside the United States and to a place in the United States

from and through a place outside the United States, knowing that the monetary instruments

and funds involved in the transportation, transmission and transfer represented the proceeds

of some form of unlawful activity, and knowing that such transportation, transmission and

transfer was designed in whole or in part to conceal or disguise the nature, location, source,

ownership and control of the proceeds of the specified unlawful activity, to wit: (i) felony

violations of the FCPA, Title 15, United States Code, Sections 78dd-2 and 78dd-3; and (ii)

offenses against a foreign nation involving bribery of a public official, in violation of

Articles 280 and 285 of the Ecuadorian Penal Code, contrary to Title 18, United States Code,

Section 1956(a)(2)(B)(i).

               42.    In furtherance of the conspiracy and to effect its objects, within the

Eastern District of New York and elsewhere, the defendant ANTONIO PERE YCAZA,

together with others, committed and caused the commission of, among others, the following:

                                        OVERT ACTS

                      (a)     On or about November 20, 2014, PERE sent an invoice for

approximately $188,752.85 to the Swiss affiliate of Asphalt Company pursuant to the corrupt

consulting agreement with Consulting Company #1.

                      (b)     On or about November 28, 2014, Trading Company #1 caused a

wire transfer of approximately $1,971,970.39 from a bank account in Singapore, through a
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correspondent account at a bank in New York, New York, into an account in Panama held by

Consulting Company #1.

                      (c)    On or about June 2, 2016, PERE instructed Enrique Pere, while

both were in the United States, to cause a wire transfer of approximately $228,500.00 from a

bank account in the Cayman Islands held by Consulting Company #1, through a

correspondent account at a bank in New York, New York, into an account in Panama held by

a close relative of Ecuadorian Official #1.

                      (d)    In or about February 2018, in order to facilitate and conceal

commission payments from Trading Company #2 to Consulting Company #3, Enrique Pere

signed consulting contracts backdated to December 22, 2016, with two shell companies

registered in Curacao.

                      (e)    On or about November 7, 2018, Trading Company #2 caused a

wire transfer of approximately €63,345.36 from a shell company bank account in Curacao to

a bank account in the Cayman Islands held by Consulting Company #3.

                      (f)    On or about and between February 11, 2019 and April 1, 2019,

Trading Company #1 caused three wire transfers totaling more than $2.8 million from a bank

account in Singapore, through a correspondent account at a bank in New York, New York,

into an account in Panama held by Consulting Company #1.

                      (g)    On or about April 4, 2019, PERE caused Enrique Pere, while

both were in the United States, to cause a wire transfer of approximately $2,200,088.95 from
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a bank account in the Cayman Islands in the name of Consulting Company #1 to a bank

account in Portugal for the ultimate benefit of Ecuadorian Official #1.

                     (h)     On or about June 27, 2019, PERE caused Enrique Pere, while

both were in the United States, to cause a wire transfer of approximately $142,927.00 from a

bank account in the Cayman Islands held by Consulting Company #1, through a

correspondent account at a bank in New York, New York, into a bank account in Panama for

the ultimate benefit of Ecuadorian Official #2 and Ecuadorian Official #3.

                     (i)     On or about July 22, 2019, PERE instructed Enrique Pere, while

both were in the United States, to cause a wire transfer of approximately $175,100.00 from a

bank account in the Cayman Islands held by Consulting Company #3, through a

correspondent account at a bank in New York, New York, into a bank account in Panama,

approximately $100,000.00 of which was for the benefit of Ecuadorian Official #2 and

Ecuadorian Official #3.

                     (j)     On or about July 24, 2019, Trading Company #1 caused a wire

transfer of approximately $1,366,502.87 from a bank account in Singapore, through a
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                                                                                               20

correspondent account at a bank in New York, New York, into a bank account in the Cayman

Islands held by Consulting Company #1.

               (Title 18, United States Code, Sections 371 and 3551 et seq.)

                            CRIMINAL FORFEITURE ALLEGATION
                                   AS TO COUNT ONE

               43.    The United States gives notice to defendant that, upon his conviction of

the offense charged in Count One, the government will seek forfeiture in accordance with

Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section

2461(c), which require any person convicted of such offense to forfeit any property, real or

personal, constituting, or derived from, proceeds obtained directly or indirectly as a result of

such offense, including but not limited to the sum of forty-five million, eight hundred ninety-

eight thousand, one hundred and five dollars and forty-one cents ($45,898,105.41).

               44.    If any of the above-described forfeitable property, as a result of any act

or omission of the defendant:

                      (a)     cannot be located upon the exercise of due diligence;

                      (b)     has been transferred or sold to, or deposited with, a third party;

                      (c)     has been placed beyond the jurisdiction of the court;

                      (d)     has been substantially diminished in value; or

                      (e)     has been commingled with other property which cannot be

subdivided without difficulty; it is the intent of the United States, pursuant to Title 21, United
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